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 7
                             UNITED STATES DISTRICT COURT
 8
                          WESTERN DISTRICT OF WASHINGTON
 9
                                            AT SEATTLE
10

11   BRADLEY AND LORI ROUTT,  )                   Case No.
12
                              )
     Plaintiffs,              )                   COMPLAINT FOR VIOLATION
13                            )                   OF   FEDERAL   FAIR   DEBT
14          vs.               )                   COLLECTION PRACTICES ACT
                              )
15
     SKAGIT BONDED COLLECTORS,)
16   LLC DBA SB&C, LTD. AND)
     SANDRA PACIOTTI,         )
17
                              )
18   Defendants.              )
19
                                       NATURE OF ACTION
20

21          1.      This is an action brought under the Fair Debt Collection Practices
22
     Act (“FDCPA”), 15 U.S.C. § 1692 et seq.
23

24
                                  JURISDICTION AND VENUE
25
            2.      This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28
26
     U.S.C. § 1331.
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-1                          WEISBERG & MEYERS, LLC
                                                              3877 N. Deer Lake Rd.
                                                              Loon Lake ,WA 99148
                                                              509-232-1882
                                                              866-565-1327 facsimile
                                                              jrobbins@AttorneysForConsumers.com
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 1          3.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),
 2
     where the acts and transactions giving rise to Plaintiffs’ action occurred in this
 3

 4   district, (where Plaintiffs reside in this district), and/or where Defendants transact
 5
     business in this district.
 6

 7                                          PARTIES
 8
            4.      Plaintiffs, Bradley and Lori Routt (“Plaintiffs”), are natural persons
 9
     who at all relevant times resided in the State of Washington, County of Skagit,
10

11   and City of Burlington.
12
            5.      Plaintiffs are “consumers” as defined by 15 U.S.C. § 1692a(3).
13

14          6.      Defendant, Skagit Bonded Collectors, LLC dba SB&C, Ltd.
15
     (“SBC”) is an entity who at all relevant times was engaged, by use of the mails
16

17
     and telephone, in the business of attempting to collect a “debt” from Plaintiffs, as

18   defined by 15 U.S.C. §1692a(5).
19
            7.      Defendant, Sandra Paciotti (“Ms. Paciotti”) is an individual who at
20

21   all relevant times was engaged, by use of the mails and telephone, in the business
22
     of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C.
23

24   §1692a(5).
25
            8.      “Employees can be held personally liable under the FDCPA.”
26
     Robinson v. Managed Accounts Receivable Corp., 654 F. Supp. 2d 1051, 1059
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-2                             WEISBERG & MEYERS, LLC
                                                                 3877 N. Deer Lake Rd.
                                                                 Loon Lake ,WA 99148
                                                                 509-232-1882
                                                                 866-565-1327 facsimile
                                                                 jrobbins@AttorneysForConsumers.com
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 1   (C.D. Cal. 2009); see Schwarm v. Craighead, 552 F. Supp. 2d 1056, 1070-71
 2
     (E.D. Cal. 2008).
 3

 4          9.      Furthermore, “most district courts that have addressed the issue have
 5
     held that the corporate structure does not insulate shareholders, officers, or
 6

 7   directors from personal liability under the FDCPA.” Schwarm v. Craighead, 552
 8
     F. Supp. 2d 1056, 1070-71 (E.D. Cal. 2008); see Kistner v. Law Offices of
 9
     Michael P. Margelefsky, L.L.C., 518 F.3d 433, 437-38 (6th Cir. 2008); del Campo
10

11   v. Kennedy, 491 F. Supp. 2d 891, 903 (N.D.Cal.2006); Brumbelow v. Law Offices
12
     of Bennett & Deloney, P.C., 372 F.Supp.2d 615, 618-21 (D. Utah 2005);
13

14   Albanese v. Portnoff Law Assocs., Ltd., 301 F. Supp. 2d 389, 400 (E.D. Pa. 2004);
15
     Musso v. Seiders, 194 F.R.D. 43, 46-47 (D.Conn.1999); Brink v. First Credit
16

17
     Res., 57 F. Supp. 2d 848, 861-62 (D. Ariz. 1999); Pikes v. Riddle, 38 F. Supp. 2d

18   639, 640 (N.D. Ill. 1998); Ditty v. CheckRite, Ltd., 973 F. Supp. 1320, 1337-38
19
     (D. Utah 1997); Newman v. Checkrite Cal., Inc., 912 F. Supp. 1354, 1372 (E.D.
20

21   Cal.1995); Teng v. Metro. Retail Recovery Inc., 851 F. Supp. 61, 67 (E.D. N.Y.
22
     1994).
23

24          10.     Skagit Bonded Collectors, LLC dba SB&C, Ltd. and Sandra Paciotti
25
     (“Defendants”) are “debt collectors” as defined by 15 U.S.C. § 1692a(6).
26

27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-3                            WEISBERG & MEYERS, LLC
                                                                3877 N. Deer Lake Rd.
                                                                Loon Lake ,WA 99148
                                                                509-232-1882
                                                                866-565-1327 facsimile
                                                                jrobbins@AttorneysForConsumers.com
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 1
                                    FACTUAL ALLEGATIONS
 2
            11.     Plaintiffs are natural persons obligated, or allegedly obligated, to pay
 3

 4   a debt owed or due, or asserted to be owed or due a creditor other than
 5
     Defendants.
 6

 7          12.     Plaintiffs’ obligation, or alleged obligation, owed or due, or asserted
 8
     to be owed or due a creditor other than Defendants, arise from a transaction in
 9
     which the money, property, insurance, or services that are the subject of the
10

11   transaction were incurred primarily for personal, family, or household purposes.
12
     Plaintiffs incurred the obligation, or alleged obligation, owed or due, or asserted
13

14   to be owed or due a creditor other than Defendants.
15
            13.     Defendants use instrumentalities of interstate commerce or the mails
16

17
     in a business the principal purpose of which is the collection of any debts, and/or

18   regularly collects or attempts to collect, directly or indirectly, debts owed or due,
19
     or asserted to be owed or due another.
20

21          14.     Defendants sent Plaintiff initial written communication dated
22
     December 14, 2009, and in which Defendants made threats to report the debt to
23

24   the credit bureaus as soon as seven (7) days after the letter was sent to Plaintiff,
25
     thus overshadowing, obscuring and obfuscating the disclosures required pursuant
26
     15 U.S.C. §§ 1692g(a) et seq.
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-4                              WEISBERG & MEYERS, LLC
                                                                  3877 N. Deer Lake Rd.
                                                                  Loon Lake ,WA 99148
                                                                  509-232-1882
                                                                  866-565-1327 facsimile
                                                                  jrobbins@AttorneysForConsumers.com
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 1          15.     Defendants also demanded immediate payment of the debt in full in
 2
     order for collection activity to be stopped, further overshadowing the thirty (30)
 3

 4   day dispute period afforded to Plaintiff pursuant to 1692g.               (15 U.S.C. §
 5
     1692g(b)).
 6

 7          16.     Defendants falsely represented the character, amount, or legal status
 8
     of Plaintiff’s debt. In the December 14, 2009 letter that Defendants sent to
 9
     Plaintiff, Defendants indicated that the total amount owed by Plaintiff was
10

11   $316.60.
12
            17.     In the lawsuit filed in June of 2020, however, Defendants
13

14   represented that the total amount of the debt incurred was $220.80.
15
            18.     Moreover, Defendants attempted to collect interest charges that were
16

17
     not expressly authorized by the agreement on which the debt was based. (§

18   1692e(2)(A)).
19
            19.     Defendants’ actions constitute conduct highly offensive to a
20

21   reasonable person.
22
                                               COUNT I
23                                          DEFENDANT SBC
24
            20.     Plaintiffs repeat and re-alleges each and every allegation contained
25

26   above.
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-5                            WEISBERG & MEYERS, LLC
                                                                3877 N. Deer Lake Rd.
                                                                Loon Lake ,WA 99148
                                                                509-232-1882
                                                                866-565-1327 facsimile
                                                                jrobbins@AttorneysForConsumers.com
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 1          21.      Defendant violated the FDCPA as detailed above.
 2
            WHEREFORE, Plaintiffs pray for relief and judgment, as follows:
 3

 4                a) Adjudging that Defendant violated the FDCPA;
 5
                  b) Awarding Plaintiffs statutory damages, pursuant to 15 U.S.C.
 6

 7                   §1692k, in the amount of $1,000.00;
 8
                  c) Awarding Plaintiffs actual damages, pursuant to 15 U.S.C. §1692k;
 9
                  d) Awarding Plaintiffs reasonable attorneys’ fees ands costs incurred in
10

11                   this action;
12
                  e) Awarding Plaintiffs any pre-judgment and post-judgment interest as
13

14                   may be allowed under the law;
15
                  f) Awarding such other and further relief as the Court may deem just
16

17
                     and proper.

18                                        COUNT II
19                                  DEFENDANT MS. PACIOTTI
20
            22.      Plaintiffs repeat and re-alleges each and every allegation contained
21

22
     above.

23          23.      Defendant violated the FDCPA as detailed above.
24
            WHEREFORE, Plaintiffs pray for relief and judgment, as follows:
25

26                g) Adjudging that Defendant violated the FDCPA;
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-6                             WEISBERG & MEYERS, LLC
                                                                 3877 N. Deer Lake Rd.
                                                                 Loon Lake ,WA 99148
                                                                 509-232-1882
                                                                 866-565-1327 facsimile
                                                                 jrobbins@AttorneysForConsumers.com
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 1              h) Awarding Plaintiffs statutory damages, pursuant to 15 U.S.C.
 2
                    §1692k, in the amount of $1,000.00;
 3

 4              i) Awarding Plaintiffs actual damages, pursuant to 15 U.S.C. §1692k;
 5
                j) Awarding Plaintiffs reasonable attorneys’ fees ands costs incurred in
 6

 7                  this action;
 8
                k) Awarding Plaintiffs any pre-judgment and post-judgment interest as
 9
                    may be allowed under the law;
10

11              l) Awarding such other and further relief as the Court may deem just
12
                    and proper.
13

14                                          TRIAL BY JURY
15
                            Plaintiffs are entitled to and hereby demands a trial by jury.
16

17                  Respectfully submitted this 9th day of December, 2010.
18

19                                              s/Jon N. Robbins
20                                              Jon N. Robbins
                                                WEISBERG & MEYERS, LLC
21
                                                Attorney for Plaintiffs
22

23

24

25

26

27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-7                                WEISBERG & MEYERS, LLC
                                                                    3877 N. Deer Lake Rd.
                                                                    Loon Lake ,WA 99148
                                                                    509-232-1882
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